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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION


UNITED STATES OF AMERICA            :
                                    :
                                    :
v.                                  :                Case No.: 6:18-MJ-01167-GJK-1
                                    :
                                    :
ANDREW JACKSON                      :
____________________________________:

            MOTION TO MODIFY CONDITIONS OF PRETRIAL RELEASE

       COMES NOW, undersigned counsel, on behalf of the Defendant, ANDREW JACKSON,

and files this his request to modify the conditions of pretrial release to allow the Defendant to

travel to Jamaica for his wedding and in support states as follows:

       1. On March 15, 2018 this Honorable Court granted the Defendant’s motion for pretrial

           release.

       2. During the hearing held on the Defendant’s motion, also on March 15, 2018, the

           Defendant did not address the issue of the Defendant’s scheduled wedding on April

           28, 2018 in Jamaica but reserved the right to do so at a later time.

       3. At this time, the Defendant requests permission to travel to the Hilton Rose Hall

           Resort and Spa at Montego Bay, Jamaica from April 27, 2018 through April 29, 2018.

               a. The Defendant previously filed a complete itinerary and details of the

                   wedding on March 14, 2018 (Document 7).

       4. In order to alleviate the Court’s concerns of risk of flight and danger to the

           community, the Defendant agrees to pay private investigator Gerardo M. Rivera,

           State of Florida License Number C 2900510 to escort him from the United States of

           America to Jamaica and vice versa.
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          a. Mr. Rivera is a retired Miami-Dade Police Officer who served from 1982 to

              1995.

          b. Mr. Rivera received his B.S. in Political Science from Florida State University

              in 1997.

          c. Mr. Rivera received his J.D. from Florida State College of Law in 2000.

          d. Mr. Rivera primarily works with O’Brien Hatfield, PA.

   5. Mr. Rivera agrees to fly to and from Jamaica on the same flight and stay at the same

      hotel with the Defendant to assure his return to the United States of America.

   6. Further, Mr. Rivera agrees to monitor the Defendant during this trip to assure that he

      is not a danger to himself or those around him.

   7. The Defendant suggests a hearing on this motion so that Mr. Rivera may be placed

      under oath and questioned by this Court if necessary.

   8. The government objects to this motion.
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                                        CONCLUSION

       WHEREFORE, the Defendant, ANDREW JACKSON, by and through the undersigned

counsel respectfully requests this Honorable Court grant the stated relief and/or any other relief

this Honorable Court deems appropriate.

                                                            Respectfully submitted,

                                                            By: /s/ Mark J. O’Brien
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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY on March 27, 2018 I electronically filed the foregoing with the

Clerk of the Court by using the CM/ECF system which will then send notice of electronic filing

to all counsel of record.


                                                         /s/ Mark J. O'Brien
                                                         Mark J. O'Brien, Esquire
